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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )    Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )    Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT FUND                                        )    Adv. Pro. No. 21-03000 (SGJ)
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                                )
HIGHLAND INCOME FUND, NEXPOINT                                          )
STRATEGIC OPPORTUNITIES FUND, NEXPOINT                                  )
CAPITAL INC., AND CLO HOLDCO, LTD.,                                     )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On July 6, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service lists attached hereto as
Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached hereto as
Exhibit C and Exhibit D:



                                           (Continued on Next Page)




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   Notice of Status Conference [Docket No. 105]


Dated: July 9, 2021
                                            /s/ Hannah Bussey
                                            Hannah Bussey
                                            KCC
                                            Meidinger Tower
                                            462 South 4th Street
                                            Louisville, KY 40202




                                            2
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                              EXHIBIT A
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                                                                             Exhibit A
                                                                       Core/2002 Service List
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                 Description                               CreditorName                      CreditorNoticeName                              Email
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Highland Capital Management, L.P.
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                                                                             Exhibit A
                                                                       Core/2002 Service List
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                                                                         Exhibit A
                                                                   Core/2002 Service List
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                                                                                                                 mclemente@sidley.com;
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                              EXHIBIT B
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                                                                Adversary Service List
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Highland Capital Management, L.P.
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                              EXHIBIT C
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                                                                                      Core/2002 Service List
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           Description                       CreditorName                CreditorNoticeName                   Address1                 Address2           Address3       City     State       Zip
                                                                                                      8080 North Central
Bank                                BBVA                             Michael Doran                    Expressway                  Suite 1500                         Dallas       TX      75206
                                    Cole, Schotz, Meisel, Forman &                                    301 Commerce Street,
Creditor                            Leonard, P.A.                                                     Suite 1700                                                     Fort Worth   TX      76102
                                                                     Centralized Insolvency
IRS                                 Internal Revenue Service         Operation                        PO Box 7346                                                    Philadelphia PA      19101-7346
                                                                                                      225 Franklin Street, 18th
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Secured Creditor                    KeyBank National Association     as Agent                         127 Public Square                                              Cleveland    OH      44114
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TX Comptroller of Public Accounts Accounts                           Bankruptcy Section           PO Box 13258                                                       Austin       TX      78711
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U.S. Department of the Treasury     US Department of the Treasury    Office of General Counsel    Avenue, NW                                                          Washington DC       20220
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Delaware Division of Revenue        Zillah A. Frampton               Bankruptcy Administrator     Revenue                         Building, 8th Floor   Street        Wilmington DE       19801




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                               EXHIBIT D
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